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                      Supplemental Civil Cover Sheet for Cases Removed
                                     From State Court


This form must be attached to the Civil Cover Sheet at the time the case is filed in the U.S. District
                  Clerk’s Office. Additional sheets may be used as necessary.


    1. State Court Information:

        Please identify the court from which the case is being removed and specify the number assigned
        to the case in that court.

                                 Court                                             Case Number
        14th Judicial District Court of Dallas County, Texas    DC-17-17363


    2. Style of the Case:

        Please include all Plaintiff(s), Defendant(s), Intervenor(s), Counterclaimant(s), Crossclaimant(s)
        and Third Party Claimant(s) still remaining in the case and indicate their party type. Also, please
        list the attorney(s) of record for each party named and include their bar number, firm name,
        correct mailing address, and phone number (including area code).

                      Party and Party Type                                           Attorney(s)
        Gloria Machado, a/n/f of Anthony T. Machado and         Paul Hornung, No. 00795831, Domingo Garcia, P.C.
        Manlio Amaya, Ind. as Personal Rep of Estate of         400 S. Zang Blvd., 6th Floor, Suite 600, Dallas, Tx 75208
        Ivan A. Amaya, Deceased - DEFENDANTS                    (214) 941-8300
        Xpedite Logistics, LLC, Crete Carrier Corp, d/b/a       Jordan Mayfield, No. 24037051, NHSL, PLLC
        Shaffer Trucking, Ronald Beasley and James Ely - PLFS   400 Austin Ave., Waco, Tx. 76701 (254) 755-4100

    3. Jury Demand:

        Was a Jury Demand made in State Court?                  ✔   Yes                       No
                If “Yes,” by which party and on what date?

                Plaintiff
                ___________________________________                         December 19, 2017
                                                                            ______________________
                Party                                                       Date
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    4. Answer:

        Was an Answer made in State Court?           Yes                ✔   No
                 If “Yes,” by which party and on what date?

                 ___________________________________                ______________________
                 Party                                              Date


    5. Unserved Parties:

        The following parties have not been served at the time this case was removed:

                                 Party                            Reason(s) for No Service
        Xpedite Logistics, LLC
        Ronald Anthony Beasley
        James Ely, Jr




    6. Nonsuited, Dismissed or Terminated Parties:

        Please indicate any changes from the style on the State Court papers and the reason for that
        change:

                                 Party                                      Reason




    7. Claims of the Parties:

        The filing party submits the following summary of the remaining claims of each party in this
        litigation:

                                 Party                                      Claim(s)
        Plaintiff(s)                                 Negligence
